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07                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
08                                      AT SEATTLE

09 UNITED STATES OF AMERICA,              )             CASE NO.: 05-330M
                                          )
10         Plaintiff,                     )
                                          )
11         v.                             )             DETENTION ORDER
                                          )
12   MAN SUP WOO,                         )
                                          )
13         Defendant.                     )
     ____________________________________ )
14

15 Offense charged:

16          Conspiracy to Smuggle and Transport Illegal Aliens

17 Date of Detention Hearing:      July 1, 2005

18          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

19 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

20 that no condition or combination of conditions which defendant can meet will reasonably assure

21 the appearance of defendant as required and the safety of other persons and the community.

22          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

23          (1)     Defendant is charged with two co-defendants with the offense of conspiracy to

24 smuggle and transport illegal aliens. The complaint alleges that he is a part of an alien smuggling

25 operation, and states that he allegedly admitted to transporting nine individuals into the interior

26 of the United States.

     DETENTION ORDER                                                                           15.13
     18 U.S.C. § 3142(i)                                                                    Rev. 1/91
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01          (2)     Defendant was born in Korea and is a United States citizen. He reports travel

02 outside the country to Guam and Korea. The AUSA alleges that all or some of this travel is

03 related to alien smuggling. He was arrested but not convicted of alien smuggling in February

04 2003, in San Ysidro California. He was convicted of the offense of assault, third degree in Hawaii

05 and indicated that he participated in anger management as part of a court order.

06          (3)     The defendant indicates that he is employed in Los Angeles, California for a taxi

07 company, but the employment could not be verified. The individual identified by the defendant

08 as able to verify his background information could not be contacted. The AUSA proffered a letter

09 from the State of California Employment Development Department that states there is no current

10 record of earnings reported for Man Sup Woo or an individual with his social security number.

11          (4)     He reports residing at eight different addresses across the United States in the last

12 two years.

13          (5)     The defendant poses a risk of nonappearance due the lack of verified background

14 information, lack of indication of visible means of support, multiple residences in different states,

15 lack of ties to this District, and the nature of the instant offense, which evidences, if proven, an

16 ability to elude authorities and travel undetected across international boundaries. To a lesser

17 extent, he poses a risk of danger due to criminal history.

18          (6)     There does not appear to be any condition or combination of conditions that will

19 reasonably assure the defendant’s appearance at future Court hearings while addressing the danger

20 to other persons or the community.

21 It is therefore ORDERED:

22          (1)     Defendant shall be detained pending trial and committed to the custody of the

23                  Attorney General for confinement in a correction facility separate, to the extent

24                  practicable, from persons awaiting or serving sentences or being held in custody

25                  pending appeal;

26          (2)     Defendant shall be afforded reasonable opportunity for private consultation with

     DETENTION ORDER                                                                             15.13
     18 U.S.C. § 3142(i)                                                                      Rev. 1/91
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01                counsel;

02         (3)    On order of a court of the United States or on request of an attorney for the

03                Government, the person in charge of the corrections facility in which defendant is

04                confined shall deliver the defendant to a United States Marshal for the purpose of

05                an appearance in connection with a court proceeding; and

06         (4)    The clerk shall direct copies of this Order to counsel for the United States, to

07                counsel for the defendant, to the United States Marshal, and to the United States

08                Pretrial Services Officer.

09         DATED this 1st day of July, 2005.



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                                                Mary Alice Theiler
12                                              United States Magistrate Judge

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     DETENTION ORDER                                                                        15.13
     18 U.S.C. § 3142(i)                                                                 Rev. 1/91
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